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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,
            Plaintiff,

       vs.                                               No. 12-10174-JTM

PHILIP ANDRA GRIGSBY,
            Defendant.




                             MEMORANDUM AND ORDER


       Defendant Philip Andra Grigsby pled guilty to eight counts of sexual exploitation

of a child and was sentenced to a lengthy term of imprisonment and ordered to pay

substantial restitution. (Dkt. 78). This court and the Tenth Circuit have denied numerous

subsequent challenges by defendant to his conviction and the restitution order. (Dkt. 173,

255, 296, 333). Grigsby now moves (Dkt. 338) the court to modify the restitution order so

that payments would be made directly to the victim, who was nine years old at the time

of the crime but has now achieved her majority.

       The court hereby strikes the motion, in which Grigsby assumes for himself the role

of a representative of the interests of the victim. Both 18 U.S.C. § 2259(c)(4) and 18 U.S.C.

§ 3771(e)(2)(B) expressly prohibit a criminal defendant from acting as a guardian or

representative on behalf of a minor victim. Under the later provision in the Crime Victim
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Rights Act, defendant cannot assert the rights of his victim. See United States v. Grigsby,

784 F. App'x 592, 595 (10th Cir. 2019) (“nor does he [Grigsby] have standing to assert her

rights in any event”).

       IT IS ACCORDINGLY ORDERED this day of January, 2021, that the defendant’s

Motion to Modify Restitution is hereby struck for lack of standing.




                                         s/ J. Thomas Marten
                                         J. Thomas Marten, Judge




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